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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                               MOBILE DIVISION


SHAWN COREY CARTER,

      Plaintiff,                             Case No.

                     v.

ANTHONY BUZBEE, DAVID
FORTNEY, ANTHONY G. BUZBEE LP
(d/b/a THE BUZBEE LAW FIRM) and
JANE DOE,

      Defendants.




                      PLAINTIFF SHAWN COREY CARTER’S
                    COMPLAINT AND DEMAND FOR JURY TRIAL




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                                          Introduction

     1.     A. False;

            B. Malicious;

            C. Strategically and tactically calculated and timed to inflict maximum pain and

               suffering on Mr. Carter; and

            D. In conspiracy with multiple attorneys, including defendants Anthony Buzbee and

               David Fortney, who – like her – were soullessly motivated by greed, in abject

               disregard of the truth and the most fundamental precepts of human decency.

       2.      These are the only truthful and fair descriptions of Jane Doe’s and her lawyers’

malevolent efforts to assassinate the impeccable and lifetime-earned character of Shawn Corey

Carter, who is professionally known as Jay-Z, but more importantly is known as Dad, and husband,

and son – and a human being who did nothing to deserve or elicit the wanton, depraved attack that

Jane Doe, in conspiracy with her lawyers, launched to extort Mr. Carter beginning on November

5, 2024, through a menacing “private” “demand letter.”

       3.      Doe and her lawyers, Anthony Buzbee, David Fortney and Anthony G. Buzbee LP

(d/b/a The Buzbee Law Firm) (collectively, “Defendants”), then brought before the world an in-

court complaint, the impossibility – and indeed absurdity – of which was surpassed only by its vile

malevolence, in a desperate attempt to leverage Mr. Carter into an extortionate payoff which these

malicious actors presented as the only path for Mr. Carter to prevent the public prosecution of a

lawsuit by Doe.

       4.      When their initial extortionate demand letter failed to yield the financial windfall

they sought, and after Doe told Buzbee (with whom she had never spoken before the demand letter

was drafted and sent) that Mr. Carter “did not sexually assault [her],” Buzbee “pushed [her]


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towards going forward with the false story against Mr. Carter . . . to make the case better and get

them [the lawyer’s and her] more money . . . .” Specifically: “Buzbee brought Jay-Z into it.”

       5.      Buzbee then went forward with naming Mr. Carter, with full knowledge by him, as

imparted to him by Doe, that Mr. Carter had never assaulted Doe, and Doe’s entire story as it

related to Mr. Carter was completely fabricated.

       6.      Doe has now voluntarily admitted directly to representatives of Mr. Carter that the

story brought before the world in court and on global television was just that: a false, malicious

story. She has admitted that Mr. Carter did not assault her; and that indeed it was Buzbee himself

– whom she met for the first time at a coffee shop in Houston on the day of her maliciously false

NBC News interview (which is discussed in detail below) – who pushed her to go forward with

the false narrative of the assault by Mr. Carter in order to leverage a maximum payday.

       7.      To compound this egregious harm, just last Friday Buzbee’s and Fortney’s co-

counsel – a prominent New York attorney in the now dismissed false action against Mr. Carter –

threatened Mr. Carter’s counsel to double-down with yet another false public statement by Doe if

Mr. Carter publicly revealed her admissions, and Buzbee’s and Fortney’s misdeeds, in Mr. Carter’s

pending California lawsuit against Buzbee.

       8.      Fortunately, and clearly unexpectedly from their perspective, Doe, Buzbee and

Fortney were met with nothing but righteous resolve at every turn by Mr. Carter. He stood

steadfast; publicly decried the lies being put forth against him; and beat the evil conspiracy among

malicious Doe and her malevolent, soulless lawyers, driving them back into the shadows from

which they came, resulting in the voluntary dismissal with prejudice, without settlement, of their

false and malicious complaint on February 14, 2025.




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       9.      Mr. Carter does not commence this action lightly.           Following Jane Doe’s

admissions that she fabricated her claims against Mr. Carter, her lawyers have continued to seek

to hide this reality, including through further extortionate threats and demands by Buzbee, Fortney

and their New York co-counsel on February 28. Even after all this, Mr. Carter does not expose

his malicious and wrongful accuser’s identity in this complaint, seeking to maintain her anonymity

as “Doe.” But the extortion and abuse of Mr. Carter by Doe and her lawyers must stop.

       10.     Therefore, Mr. Carter brings this lawsuit to hold Doe accountable for her willful

defamation per se and her malicious prosecution of knowingly false allegations against Mr. Carter

that Doe and her co-conspirator attorneys have falsely and maliciously peddled.

                                            PARTIES

       11.     Plaintiff Shawn Corey Carter (p/k/a Jay-Z) is a citizen of the State of California

residing in the State of California.

       12.     Defendant Anthony Buzbee is an attorney and resident of the State of Texas. He is

a principal of Defendant Anthony G. Buzbee L.P. (d/b/a The Buzbee Law Firm) (the “Buzbee Law

Firm”). Defendant David Fortney is an attorney, is affiliated with The Buzbee Law Firm, and is a

resident of the State of Texas.

       13.     Defendant The Buzbee Law Firm is a law firm that is organized under the laws of

the State of Texas and that operates its principal place of business from Harris County, Texas. No

members of Defendant The Buzbee Law Firm’s limited partnership reside in the State of

California. Buzbee’s and Fortney’s conduct described in this Complaint were taken on behalf of

themselves and on behalf of Defendant The Buzbee Law Firm.

       14.     Defendant Jane Doe is a citizen of the State of Alabama residing in this District.

Doe sued Mr. Carter in the United States District Court for the Southern District of New York




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under a “Jane Doe” pseudonym. She later further published her malicious lies on NBC News

without revealing her name.

                                  JURISDICTION AND VENUE

        15.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between citizens of different States.

        16.     Mr. Carter is a citizen of the State of California. Buzbee, Fortney and The Buzbee

Law Firm are citizens of the State of Texas, and Doe is a citizen of the State of Alabama.

        17.     Venue in this district is appropriate under 28 U.S.C. § 1391 because Doe resides in

this judicial district, and Buzbee and Fortney provided legal services to her, and spoke and met

with her, within this District.

               ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

  I.    After Hiring The Buzbee Law Firm, Doe Falsely Accuses Mr. Carter of Sexual
        Assault in Written Correspondence, Court Filings, and on Global Television

        18.     Doe appears to be suffering from personal and financial hardship. She lost custody

of her children, and her parents, who, on information and belief, support Doe, recently filed for

bankruptcy protection. Desperate to obtain a payday, Doe hired the Buzbee law firm―which has

a long history of whipping up a media frenzy with vague and sensational claims against public

figures―to extort payments from Mr. Carter under the threat of devastating harm to his reputation.

        19.     As discussed below, Doe first attempted to extort Mr. Carter through an extortionate

demand letter and an anonymous lawsuit, both from Buzbee. When Mr. Carter refused to capitulate

to Doe’s baseless demands, Doe doubled down by using the justice system to attempt to ruin Mr.

Carter by formally naming Mr. Carter in a complaint making horrific, false allegations. And when

that also failed, Doe resorted to defaming Mr. Carter on global television.



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           20.     A simple Google or other public record search of Doe by Buzbee and Fortney would

have cast doubt on her credibility by revealing that, among other things: (a) less than 90 days

before sending the demand letter, she had been in court on mental health related issues in

connection with her second degree assault charge, and had her bail revoked for failing a drug test;

(b) she has several mental health disorders, and takes multiple medications according to testimony

from her psychiatrist laid bare in public court records; and (c) she made three other sexual assault

allegations which were either dropped or dismissed by courts.

           A. Doe Sues Sean Combs, Combs’ Entities, and “Does 1-10” Alleging That She Was
              Sexually Assaulted at an Afterparty Following the 2000 MTV Video Music
              Awards

           21.     On October 20, 2024, Doe sued Sean “Diddy” Combs and his business entities, as

well as “Does 1-10.” 1 Exhibit 1 (Original Complaint).

           22.     Although Doe’s lawsuit also implicates unnamed “Celebrity A” and “Celebrity B,”

Doe did not formally name them as parties. Id., at ¶¶ 48-52. Instead, Doe only sued “Does 1-10”

as defendants.

           23.     In her original Complaint, Doe alleges that when she was 13 years old, a friend

dropped her off at Radio City Music Hall in New York City so she could try to attend the Video

Music Awards (“VMAs”) on September 7, 2000. Id., at ¶ 34. Although she was unable to talk her

way into the VMAs, a limousine driver purporting to work for Combs invited her to an “afterparty.”

Id., at ¶¶ 36-37. Later that evening, the limousine driver took her to a large white house with a

gated U-shaped driveway about 20 minutes away. Id., at ¶¶ 39-40.




1
    Doe’s Complaint masks her identity with a pseudonym.


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           24.      After accepting a drink, Doe claims that she felt woozy and lightheaded and found

what she believed to be an empty room. Id., at ¶¶ 45-47. Doe alleges that Combs and “Celebrity

A” sexually assaulted her while “Celebrity B” watched. Id., at ¶¶ 48-52.

           25.      It has become evident that Doe did not initiate this legal action with a legitimate

purpose. Instead, the lawsuit was filed with the intent to extort Mr. Carter.

           B. Doe Sends Mr. Carter an Extortionate Letter Falsely Accusing Him of Sexual
              Assault

           26.      A few weeks after filing her complaint, Doe, through Buzbee, sent Mr. Carter an

extortionate letter dated November 5, 2024, containing false allegations of vile conduct by Mr.

Carter. 2

           27.      Some of the allegations in Doe’s letter were from the public complaint Doe filed

against Combs and “Does 1-10” (which contained inconsistencies that were later changed when

the complaint was amended), with the obvious implication being that she would amend her

complaint to add Mr. Carter if he refused to pay.

           28.      Doe threatened to “take a different course” if Mr. Carter did not commit to a

“confidential mediation” to “resolve this delicate and important matter” by the deadline of

November 19, 2024, giving Mr. Carter only a two-week window before she would go public with

her false allegations. To avoid both public and criminal exposure, Buzbee stated that his client

“want[s] something of substance” by way of a settlement.

           29.      However, Doe had already sued Mr. Carter, albeit as one of the “Does 1-10.” Doe’s

plan was thus clear. She was demanding that Mr. Carter either: (a) pay “something of substance”

to stop her from making public the wildly false allegations of sexual assault that would subject Mr.

Carter to opprobrium and irreparably harm his reputation, family, career, and livelihood, or (2)


2
    Doe did not reveal her name in the demand letter.


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endure that financial and personal ruin. Doe’s statements and correspondence made clear the

immediate and extensive threat of exposure if Mr. Carter failed to pay.

       C. Doe Amends Her Lawsuit to Falsely Allege That Mr. Carter Sexually Assaulted
          Her

       30.     Unwilling to capitulate to Doe and Buzbee’s extortion, on November 18, 2024, Mr.

Carter filed a lawsuit against Buzbee for Extortion and Intentional Infliction of Emotional Distress.

Mr. Carter explained that Buzbee was “shamelessly attempting to extort exorbitant sums from him

or else publicly file wildly horrific allegations against him.”

       31.     On December 8, 2024, humiliated by Mr. Carter’s lawsuit, Buzbee encouraged Doe

to file, and Buzbee and Fortney filed, a First Amended Complaint, revealing what Mr. Carter knew

all along―that one of the “Does” was a placeholder for Mr. Carter if he did not pay her ransom.

Exhibit 2 (FAC).

       32.     In Doe’s First Amended Complaint, Doe makes wild, horrific, but utterly false

allegations against Mr. Carter, substituting him for “Celebrity A” from the earlier complaint.

       D. Doe Goes on Global Television Falsely Accusing Mr. Carter of Sexual Assault

       33.     On December 13, 2024, NBC News broadcasted portions of an exclusive interview

of Doe, which was conducted with Fortney by her side. NBC News honored Doe’s request to mask

her identity. NBC News published a story excerpting interviews it held with Doe. See Chloe Melas,

et al., Jay-Z rape accuser comes forward to NBC News, acknowledges inconsistencies in her

allegations, NBC News, https://www.nbcnews.com/news/us-news/jay-z-rape-accuser-comes-

forward-nbc-newsacknowledges-inconsistencies-rcna183435 (Dec. 13, 2024, 7:27 PM) (Exhibit

3).

       34.     During the interview—which was set up by Buzbee, was given on a voluntary basis,

and in the presence of Fortney—Doe lied about Mr. Carter to a global television audience. In



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addition to attempting to explain the impossible—how she, as a 13-year-old from upstate New

York, wound up in Manhattan at a private VMAs afterparty with countless celebrities—Doe told

NBC News how she spoke with musicians Benji Madden and his brother at the afterparty. She

recalled talking to Benji Madden “about his tattoo, … [of] ‘The Last Supper,’” because she has a

“religious background so it was something to talk about.” Exhibit 4 (Dec. 13, 2024, NBC News

Tr., at 3:20-4:2).

        35.     Doe repeated her claims that, while at the afterparty, she had a drink “that made

her feel woozy,” after which “Combs and Mr. Carter took turns raping her” while an unidentified

female celebrity watched. Id., at 4:7-15.

        36.     Doe told NBC that following the alleged sexual assault, she found her way to a gas

station where she called her father who picked her up and drove her home. She states her father

did not ask her what happened, what she did, or where she was. Instead, they rode home in silence

for 5 hours and 47 minutes.

 II.    All of Doe’s Allegations Against Mr. Carter Were Demonstrably False

        37.     Doe’s allegations about Mr. Carter are false and defamatory, and her mendacity is

clear, including to the reporters at NBC News.

        38.     First, although Doe stated that the assault occurred at a residence, Mr. Carter was

at no such residence. Indeed, NBC News located photos of Mr. Carter from that evening showing

him at a party at a commercial location — the now-closed Lotus nightclub in New York City.

Exhibit 3 (NBC Article). Of course, a private nightclub cannot be mistaken for “a large white

residence with a gated U-shaped driveway” that included “a large living room or foyer,” “a hallway

containing several rooms off of it,” and a bedroom. Even Buzbee admitted to NBC that Doe does

not claim the assault occurred at Lotus nightclub. Id.




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        39.     Second, Doe told NBC that she spent “20 minutes in the limo” before arriving at

 the residence. However, when pressed about these details in a follow-up interview with NBC, Doe

 admitted she did not know where she was going or even how long the drive took. Id. Worse, she

 conceded to NBC that she “guessed about the length of time the trip had taken in the lawsuit.” Id.

        40.     Third, as to her description of a supposed conversation with Benji Madden during

 her interview with NBC News, a representative for Madden confirmed to NBC News that neither

 he nor his brother Joel attended the 2000 VMAs and that they (and their band Good Charlotte)

 were on tour in the Midwest at that time. When confronted with this evidence, she conceded she

 “made a mistake in identifying” them and that not all the faces at the after-party were clear. Id.

        41.     Fourth, regarding her long pre-dawn drive home with her father, Doe’s father told

 NBC News that he does not recall picking up Doe, which (unsurprisingly) would have been

 “something that would definitely stick in my mind.” He said that he learned of the alleged assault

 when Doe was interviewed by NBC News in December and that he did remember once picking

 Doe up in the middle of the night, but it “was a local drive.” Based on “their address [in Rochester,

 New York],” Doe’s father would have driven at least 5 hours and 47 minutes to pick her up.

        42.     And there are countless other falsehoods in Doe’s allegations. For instance, despite

 alleging that it took 20 minutes to get from Radio City Music Hall to the afterparty (FAC, at ¶ 44),

 there are no houses matching Doe’s description within 20 minutes of Radio City Music Hall. And

 although she implies that Combs hosted the afterparty, none of Combs’ properties match Doe’s

 description of the location of the afterparty.

        43.     Moreover, Doe alleges that after the VMAs began, “much of the crowd moved

 inside, but [Doe], without a ticket, remained outside with others and watched the VMAs on a

 jumbotron.” FAC, at ¶ 40. But the broadcast of the VMAs conclusively shows that there was no




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 jumbotron. Indeed, the producer of the 2000 VMAs and the NYPD confirmed that there was no

 jumbotron since their permit application was denied.

        44.     Even if Doe was outside the VMAs as she claims, she could not have approached

 celebrity limousines because they were only outside of Radio City Music Hall briefly for celebrity

 pick up and drop off. In any event, the celebrity limousines were separated from fans by police

 barricades—as publicly available video of the event clearly shows.

        45.     NBC confronted Doe regarding this substantial contradictory evidence—which it

 had uncovered in less than a week after conducting the initial interview—in a follow-up phone

 interview. In response, Doe admitted she “made some mistakes.” She also disavowed the

 allegations in her Complaint about the location of the alleged incident and admitted she was just

 guessing.

        46.     But Doe did not drop her baseless complaint. She instead insisted on moving

 forward, including by offering to submit to a polygraph (which never occurred, or in any event has

 never seen the light of day).

 III.   Doe Waited Months Before Dismissing Her False Complaint, And Did so After Being
        Lied to by Her Attorneys For Their Own Benefit

        47.     Mr. Carter made several court filings repeatedly detailing the falsity of Doe’s

 claims, as revealed by her story’s inconsistencies and the baselessness of various allegations.

        48.     At each of these junctures, Doe was confronted with the false nature of her claim,

 as well as the harm it was causing Mr. Carter. At any of these points, Doe could have withdrawn

 her lawsuit. Nevertheless, Doe continued to pursue her claim without regard to the harm it was

 causing or could cause Mr. Carter.

        49.     She has now admitted that Mr. Carter did not assault her. Indeed, Buzbee, aware

 that Mr. Carter did not assault her, pushed her to make the false claim for money.



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        50.     Having already sent the false and defamatory demand letters, having filed the false

 and defamatory complaint, and having already set Doe up to give the false and defamatory

 interview to NBC News, Buzbee, Fortney and The Buzbee Law Firm were happy to perpetuate

 the lies and hold out hope for an unwarranted payment for them and Doe. Indeed, Buzbee went

 so far as to tell TMZ on December 10, 2024 – already fully aware of the falsity of the allegations

 having met with Doe in Houston – that Doe was “not ruling out filing rape charges” against Mr.

 Carter, and that “what happens next is up to my client. It’s her case and what she decides to do

 you will find out in due course.” Exhibit 5 (TMZ article). However, the legal process got in the

 way of their scheme.

        51.     Buzbee had signed the complaints in the action against Mr. Carter without being

 admitted to Bar of the United States District Court for the Southern District of New York

 (“SDNY”), as required.

        52.     When the Judge presiding over the case was advised of this fact, she issued an order,

 dated January 28, 2025, requiring Buzbee to “file proof of admission [to the SDNY] on the docket”

 by February 14, 2025. Exhibit 6 (Order).

        53.     The very next day, January 29, 2025, Buzbee applied for such admission.

        54.     On February 13, 2025 – one day before his deadline to file proof of admission in

 the SDNY – Buzbee got the news that, because he had already filed pleadings in the SDNY without

 being admitted to the Bar of that Court – in the case at issue here and in more than 20 others – his

 application for admission had been denied (the “Denial Order”). Exhibit 7 (Order). He was also

 instructed to attach a copy of the Denial Order to any subsequent application for admission in a

 particular case in the SDNY. Id.




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         55.    Faced with his inability to comply with the Judge’s order in the case against Mr.

 Carter, and facing the threat of punishment by the Court, Buzbee dispatched Fortney to Alabama

 to meet with Doe that same day, namely February 13, 2025.

         56.    During that meeting, Fortney falsely, maliciously and manipulatively told Doe that

 the case against Mr. Carter needed to be dismissed as Mr. Carter had made threats against Doe’s

 life, and it was too dangerous to continue with the case. Of course, no such threats had ever been

 made.

         57.    Rather, Buzbee and Fortney were desperate to withdraw the false case or face

 punishment in court for their actions in filing a false pleading without Buzbee even being admitted

 in the SDNY – jeopardizing their ability to continue with the more than 20 other cases they had

 pending in SDNY.

         58.    Thus, on the evening of Friday, February 14, 2025, Doe quietly filed her voluntary

 dismissal with prejudice. Exhibit 8 (Notice of Voluntary Dismissal).

         59.    But the threats and extortion did not end with the dismissal of Doe’s fraudulent

 lawsuit.

         60.    Rather, on Friday, February 28, 2025, after Doe admitted all of the foregoing, and

 after Buzbee became aware of those admissions, a prominent New York attorney serving as

 Buzbee’s and Fortney’s co-counsel, called an attorney for Mr. Carter. During that call, Buzbee

 and Fortney’s New York co-counsel threatened that if Mr. Carter’s attorneys filed anything in Mr.

 Carter’s pending extortion and defamation case in California against Buzbee related to the

 statements made by Doe fully exculpating Mr. Carter and inculpating her and Buzbee for extortion

 and conspiracy, that Buzbee would issue a public statement by Doe that she (1) was being harassed

 by Mr. Carter’s “people” since she dropped the lawsuit; and (2) dropped the lawsuit only because




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 she was afraid for her life and that the allegations against Mr. Carter in the dropped lawsuit were

 all true. 3

          61.     Of course, Doe’s allegations about being harassed by Mr. Carter’s “people” since

 she dropped the lawsuit and about her reasons for dropping the lawsuit, are, and always were, false.

 When Doe, Buzbee and Fortney and their New York co-counsel said them, they knew, or could

 readily have discovered through any reasonable inquiry, that these statements were false.

          62.     Thus, the threats of extortion and further defamation continue to this day,

 necessitating that Mr. Carter take action to prevent unscrupulous actors from further preying on

 him.

                                         First Cause of Action
                            (Malicious Prosecution Against All Defendants)

          63.     On October 20, 2024, Doe, through Buzbee and Fortney, sued Combs and his

 business entities, as well as “Does 1-10” alleging that they committed heinous crimes. Defendants

 did not initiate that lawsuit with a legitimate purpose. Instead, the lawsuit was filed with the intent

 to extort Mr. Carter.

          64.     On November 5, 2024, Doe, through her attorney Buzbee, sent Mr. Carter an

 extortionate letter threatening to publicly assert wild, horrific, but utterly false allegations that Mr.

 Carter sexually assaulted a minor after the Video Music Awards in 2000. According to Doe, if Mr.

 Carter wished to avoid the financial and personal devastation that such public allegations would

 inflict, he would need to work out a deal to silence her. But Doe had already sued Mr. Carter, albeit

 as one of the “Does 1-10.” Defendants thus filed the lawsuit to force Mr. Carter into either: (a)

 paying “something of substance” to stop her from making public the wildly false allegations of



 3
  Mr. Carter first became aware of Doe’s identity on or around February 21, 2025; and has never met or interacted in
 any way with Doe.


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 sexual assault that would subject Mr. Carter to opprobrium and irreparably harm his reputation,

 family, career, and livelihood, or (2) endure that financial and personal ruin.

        65.      After Mr. Carter refused to capitulate to Doe’s extortionate demands, Doe, through

 Buzbee and Fortney, made good on her threat and formally named Mr. Carter a defendant in the

 lawsuit she filed weeks earlier.

        66.      Defendants either knew that the statements against Mr. Carter were false, and/or

 acted with reckless disregard for the truth when initiating proceedings against Mr. Carter.

        67.      Doe used NBC News and other media platforms to publish and further disseminate

 her false statements to millions of readers and viewers to falsely accuse Mr. Carter of sexual assault

 and inflict maximum reputational harm on him to induce Mr. Carter to give her money to which

 she was not entitled.

        68.      Doe’s lawsuit lacked any probable cause to believe her lawsuit had legal merit, as

 demonstrated by how easy it was for NBC to disprove Doe’s allegations after a few days of

 investigation that revealed evidence that directly contradicted her version of events. No person of

 ordinary care and prudence would believe that Mr. Carter sexually assaulted Doe at an after party

 for the 2000 VMAs.

        69.      For example, NBC News found the following inconsistencies in Doe’s allegations:

              a. Doe alleged that the VMA after party occurred at “a large white residence with a

                 gated U-shaped driveway” that was “approximately twenty minutes” from the

                 VMAs by car, but photographs show that Mr. Carter attended a party at Lotus, a

                 night club in New York;




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              b. Doe alleged that her father drove to pick her up after the alleged assault: a ten-hour

                 round trip to retrieve his 13-year-old daughter from a random gas station. When

                 asked, her father had no recollection of doing so;

              c. Doe alleged that she spoke to certain celebrities at the alleged party. When pressed

                 for the name of the celebrities, Doe could only name one person, but that individual

                 was in Chicago that evening performing a concert;

              d. Doe alleged that she watched the VMAs on a jumbotron, despite the fact that

                 photographs from the evening show no jumbotrons and that New York City denied

                 MTV the permit;

              e. Doe alleges that she “approached limousine drivers” at the VMAs, despite video

                 proof that the limousine area was cordoned off by police and inaccessible to fans.

        70.      Doe also admitted to NBC News that her statements contained mistakes and

 admitted that key details in her allegations were inaccurate and were based on her “guess[es].”

 Doe thus knowingly and intentionally filed a complaint that contained false allegations.

        71.      Yet, even after NBC News exposed the falsity and inconsistency of her statements,

 Defendants nevertheless continued to pursue Doe’s frivolous and meritless lawsuit for the

 improper purpose of attempting to extort a settlement from Mr. Carter based on her fabricated

 sexual assault allegations.

        72.      Defendants acted with malice in pursuing and initiating the meritless lawsuit

 against Mr. Carter. Defendants devised and executed their plan to accuse Mr. Carter of sexual

 assault and used national news and media outlets to disseminate the fabricated accusations to

 millions despite the falsity of the accusation. Defendants’ actions were willful and purposeful in




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 order to maximize the reputational harm to Mr. Carter and induce Mr. Carter to pay them. At a

 minimum, they initiated the lawsuit with a reckless disregard for the falsity of the allegations.

         73.     Doe’s frivolous lawsuit, filed by Buzbee, Fortney and The Buzbee Law Firm, and

 its demonstrably false allegations that Mr. Carter sexually assaulted her when she was a minor

 caused Mr. Carter to suffer actual and special damages, including, but not limited to, harm to his

 personal and professional reputation, harm to his business entity, Roc Nation—which resulted in

 his business suffering substantial losses in excess of $20 million—out-of-pocket loss, and

 emotional harm, humiliation, and harassment.

         74.     After finally realizing that their plan would not succeed, Defendants quietly moved

 to voluntarily dismiss the lawsuit with prejudice. Accordingly, the lawsuit was resolved in Mr.

 Carter’s favor, without settlement or compromise.

         75.     Defendants’ initiation and continued prosecution of the frivolous lawsuit was

 willful and malicious and was intended to oppress and cause injury to Mr. Carter. Accordingly,

 Mr. Carter is entitled to an award of punitive damages.

                                      Second Cause of Action
                             (Abuse of Process Against All Defendants)

         76.     On October 20, 2024, Doe, through Buzbee, Fortney and The Buzbee Law Firm,

 sued Combs and his business entities, as well as “Does 1-10” alleging that they committed heinous

 crimes. Defendants did not initiate that lawsuit with a legitimate purpose. Instead, the lawsuit was

 filed with the intent to extort Mr. Carter.

         77.     On November 5, 2024, Doe, through her attorney Buzbee, sent Mr. Carter an

 extortionate letter threatening to publicly assert wild, horrific, but utterly false allegations that Mr.

 Carter sexually assaulted a minor after the Video Music Awards in 2000. According to Doe, if Mr.

 Carter wished to avoid the financial and personal devastation that such public allegations would



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 inflict, he would need to work out a deal to silence her. But Doe had already sued Mr. Carter, albeit

 as one of the “Does 1-10.” Defendants thus filed the lawsuit to force Mr. Carter into either: (a)

 paying “something of substance” to stop her from making public the wildly false allegations of

 sexual assault that would subject Mr. Carter to opprobrium and irreparably harm his reputation,

 family, career, and livelihood, or (2) endure that financial and personal ruin.

        78.      After Mr. Carter refused to capitulate to Doe’s extortionate demands, Doe, through

 Buzbee, Fortney and The Buzbee Law Firm, made good on her threat and formally named Mr.

 Carter a defendant in the lawsuit she filed weeks earlier.

        79.      Defendants either knew that the statements against Mr. Carter were false, and/or

 acted with reckless disregard for the truth when initiating proceedings against Mr. Carter.

        80.      Doe used NBC News and other media platforms to publish and further disseminate

 her false statements to millions of readers and viewers to falsely accuse Mr. Carter of sexual assault

 and inflict maximum reputational harm on him to induce Mr. Carter to give her money to which

 she was not entitled.

        81.      Doe’s lawsuit lacked any probable cause to believe her lawsuit had legal merit, as

 demonstrated by how easy it was for NBC to disprove Doe’s allegations after a few days of

 investigation that revealed evidence that directly contradicted her version of events. No person of

 ordinary care and prudence would believe that Mr. Carter sexually assaulted Doe at an after party

 for the 2000 VMAs.

        82.      For example, NBC News found the following inconsistencies in Doe’s allegations:

              a. Doe alleged that the VMA after party occurred at “a large white residence with a

                 gated U-shaped driveway” that was “approximately twenty minutes” from the




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                 VMAs by car, but photographs show that Mr. Carter attended a party at Lotus, a

                 night club in New York;

              b. Doe alleged that her father drove to pick her up after the alleged assault: a ten-hour

                 round trip to retrieve his 13-year-old daughter from a random gas station. When

                 asked, her father had no recollection of doing so;

              c. Doe alleged that she spoke to certain celebrities at the alleged party. When pressed

                 for the name of the celebrities, Doe could only name one person, but that individual

                 was in Chicago that evening performing a concert;

              d. Doe alleged that she watched the VMAs on a jumbotron, despite the fact that

                 photographs from the evening show no jumbotrons and that New York City denied

                 MTV the permit;

              e. Doe alleges that she “approached limousine drivers” at the VMAs, despite video

                 proof that the limousine area was cordoned off by police and inaccessible to fans.

        83.      Doe also admitted to NBC News that her statements contained mistakes and

 admitted that key details in her allegations were inaccurate and were based on her “guess[es].”

 Doe thus knowingly and intentionally filed a complaint that contained false allegations.

        84.      Yet, even after NBC News exposed the falsity and inconsistency of her statements,

 Defendants nevertheless continued to pursue Doe’s frivolous and meritless lawsuit for the

 improper purpose of attempting to extort a settlement from Mr. Carter based on her fabricated

 sexual assault allegations.

        85.      Defendants acted with malice in pursuing and initiating the meritless lawsuit

 against Mr. Carter. Defendants devised and executed their plan to accuse Mr. Carter of sexual

 assault and used national news and media outlets to disseminate the fabricated accusations to



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 millions despite the falsity of the accusation. Defendants’ actions were willful and purposeful in

 order to maximize the reputational harm to Mr. Carter and induce Mr. Carter to pay them. At a

 minimum, they initiated the lawsuit with a reckless disregard for the falsity of the allegations.

        86.     Doe’s frivolous lawsuit and its demonstrably false allegations that Mr. Carter

 sexually assaulted her when she was a minor caused Mr. Carter to suffer actual and special

 damages, including, but not limited to, harm to his personal and professional reputation, harm to

 his business entity, Roc Nation—which resulted in his business suffering substantial losses in

 excess of $20 million—out-of-pocket loss, and emotional harm, humiliation, and harassment.

        87.     After finally realizing that their plan would not succeed, Defendants quietly moved

 to voluntarily dismiss the lawsuit with prejudice. Accordingly, the lawsuit was resolved in Mr.

 Carter’s favor, without settlement or compromise.

        88.     Defendants’ initiation and continued prosecution of the frivolous lawsuit was

 willful and malicious and was intended to oppress and cause injury to Mr. Carter. Accordingly,

 Mr. Carter is entitled to an award of punitive damages.

                                      Third Cause of Action
                            (Civil Conspiracy Against All Defendants)

        89.     All Defendants agreed and worked together, and knowingly and willfully

 conspired, to maliciously prosecute and abuse the legal process against Mr. Carter.                 The

 Defendants agreed to initiate and continue the false and malicious lawsuit in the shared objective

 of extorting Mr. Carter through false and damaging accusations, thereby causing harm to his

 reputation and financial wellbeing.

        90.     In doing so, all Defendants intended to harm Mr. Carter. One or more of the

 Defendants took an overt act or acts to achieve malicious prosecution of Mr. Carter and to abuse

 the process of the courts against Mr. Carter:



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              a. Defendant Buzbee, as Doe’s attorney, filed the initial lawsuit against Mr. Carter

                 and other entities, knowing the claims were fabricated or recklessly disregarding

                 the truth that the claims were fabricated;

              b. Defendant Fortney, as an attorney representing Doe, assisted in pursuing the lawsuit

                 and was complicit in the unlawful purpose of extorting Mr. Carter;

              c. Defendant Buzbee and Fortney continued to prosecute the meritless lawsuit even

                 after each were confronted with further evidence its falsity, demonstrating their

                 collective intent to harm Mr. Carter;

              d. Defendant Doe actively participated in the formulation of and prosecution of false

                 claims against Mr. Carter.

        91.      The conduct of these Defendants caused Mr. Carter’s harm. Defendants’ collective

 conduct, including their malicious prosecution and abuse of process, was intentional and calculated

 to cause Mr. Carter’s injury. Their conspiracy was executed to extort money from Mr. Carter and

 to damage his personal, professional, and business reputation.

        92.      As a direct result of Defendants’ conspiracy, Mr. Carter suffered substantial harm.

 Mr. Carter also suffered out-of-pocket expenses and emotional distress.

                                      Fourth Cause of Action
                                     (Defamation Against Doe)

        93.      Doe has made false and defamatory statements to and through third parties,

 including, but not limited to, major media outlets and through her attorney, Buzbee, on social

 media platforms, and during public interviews, accusing Mr. Carter of raping her. These statements

 were widely disseminated to the general public through media outlets, social media platforms, and

 during public interviews.




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        94.     Notwithstanding the falsity of her allegations, Doe relied on NBC and other sources

 to republish and further disseminate her defamatory statements about Mr. Carter to the public,

 despite knowing that providing such statements to media outlets would disseminate her false

 statements about Mr. Carter throughout the country and world to millions of viewers and readers,

 which is what they did on December 13, 2024.

        95.     Doe’s accusations were neither speculative nor innocuous, but asserted by Doe as

 matter of fact to lead a reader or viewer to conclude that Mr. Carter committed the criminal acts

 she alleged.

        96.     Doe knowingly made her false statements and, at a minimum, made them with a

 reckless disregard as to their falsity as demonstrated by NBC’s ability to quickly uncover

 inconsistencies in Doe’s allegations and contradictory evidence. Worse, when pressed about the

 inconsistencies, she admitted her statements contained mistakes and random guesses as to the key

 details. Doe thus acted with actual malice when she knowingly and intentionally published false

 allegations accusing Mr. Carter of sexual assault.

        97.     Doe’s false statements, and her devised plan to use media networks, such as NBC

 News, to disseminate the statements to millions, were a part of Doe’s calculated plan to falsely

 accuse Mr. Carter of sexual assault and inflict maximum reputational harm on him to induce

 payment.

        98.     Doe’s false statements are defamatory per se as inflammatory statements falsely

 accusing Mr. Carter of crimes of moral turpitude that subjected Mr. Carter to disgrace, ridicule,

 public hatred, and contempt.




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        99.     Mr. Carter was directly injured by Doe’s false statements and faced the

 deterioration of his public image, reputation, professional relationships, and business opportunities

 due to the public contempt and hatred caused by Doe’s false statements.

        100.    Defendant’s false statements also constitute defamation per quod:

        a.      Doe’s false statements were made as matter-of-fact statements that were reasonably

                understood to have been made about Mr. Carter;

        b.      Doe’s false statements to social media networks, including her NBC News

                interview, implicated Mr. Carter in allegations of criminal sexual misconduct;

        c.      The statements made by Doe were known to millions of readers and viewers of

                Doe’s statements which injured Mr. Carter in his occupation as a performer and

                businessperson. For example, Doe’s false statements and actions undermined Mr.

                Carter’s ability to maintain professional relationships, secure business

                opportunities, and preserve his reputation by exposing Mr. Carter to disgrace,

                ridicule, public hatred, and contempt.

        101.    Mr. Carter has suffered assumed and actual damages, including, but not limited to,

 loss and injury to his business, harm to his name and reputation, out-of-pocket loss, emotional

 harm, humiliation, and embarrassment.

        102.    Doe’s false statements were a substantial factor in causing Mr. Carter’s harm.

        103.    Doe acted with constitutional malice. Doe either knew that her statements against

 Mr. Carter were false or acted with reckless disregard for the truth.

        104.    Even upon having sufficient grounds to withdraw her false statements against Mr.

 Carter, with the release of the NBC New Article, Doe continued to threaten, through her attorney




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 Anthony Buzbee, criminal prosecution against Mr. Carter and maintain the lawsuit against Mr.

 Carter.

           105.   Doe did not have any reasonable grounds to support any truth in her statements and

 acted with reckless disregard for the truth. In fact, she recanted portions of her complaint when

 interviewed by NBC News, and when asked by representative of Mr. Carter to come forward with

 the truth, she responded “what’s in it for me?”

                                        PRAYER FOR RELIEF

           WHEREFORE, Shawn Corey Carter respectfully prays for judgment and relief against

 Jane Doe (as to all Causes of Action) and Anthony Buzbee, David Forney and Anthony G. Buzbee

 L.P. (d/b/a The Buzbee Law Firm) (as to the First, Second and Third Causes of Action) as follows:


    1. An award of assumed and actual damages, in an amount to be determined by the finder of
       fact;

    2. An award of punitive damages;

    3. Reasonable costs and legal fees pursuant to applicable law;

    4. Pre- and post- judgment interest as applicable; and

    5. Any other relief the Court deems just and appropriate.


                                    DEMAND FOR JURY TRIAL

           Mr. Carter demands a trial by jury of all issues so triable.




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 Dated: March 3, 2025
                                                  /s/ William G. Somerville
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